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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11

Hospital Acquisition LLC, et al.,' Case No. 19-10998 (BLS)

Debtors. Jointly Administered

A a ae ae ee

RE: Docket No. 227 & 294

 

ORDER ESTABLISHING BIDDING PROCEDURES RELATING
TO THE SALES OF ALL OR A PORTION OF THE DEBTORS’ ASSETS

Upon consideration of the motion (the “Motion” of the debtors and debtors in possession
in the above-captioned chapter 11 cases (collectively, the “Debtors”)’ seeking entry of this order
(the “Bidding Procedures Order’) (i) approving the proposed auction and bidding procedures
attached Exhibit B to the Motion (the “Bidding Procedures”) by which the Debtors will solicit
and select the highest or otherwise best offer for the sale of substantially all or a portion of their
assets (the “Assets”) through one or more sales of the Assets (each, a “Sale Transaction” or
“Sale’’); (ii) establishing procedures for the assumption and assignment of executory contracts
and unexpired leases, including notice of proposed cure amounts (the “Assumption and

Assignment Procedures’); (iii) approving the form and manner of notice of all procedures,

 

' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Hospital Acquisition LLC (3232); Hospital Acquisition Intermediate Sub LLC (9609);
LifeCare Holdings LLC (f/k/a Hospital Acquisition Sub I LLC) (6612); LifeCare Behavioral Health Hospital of
Pittsburgh LLC (9835); New LifeCare Hospitals LLC (7959); New LifeCare Hospitals of Dayton LLC (2592); New
LifeCare Hospitals of Milwaukee LLC (2428); New LifeCare Hospitals of South Texas LLC (4237); Hospital
Acquisition Sub II LLC (7920); New LifeCare Management Services LLC (4310); New LifeCare REIT 1 LLC
(9849); New LifeCare Hospitals of Mechanicsburg LLC (0174); New Pittsburgh Specialty Hospital LLC (7592);
LifeCare Vascular Services, LLC (5864); New LifeCare Hospitals of North Texas LLC (4279); New LifeCare
Hospitals of Chester County LLC (1116); New LifeCare Hospitals of Northern Nevada LLC (4534); New San
Antonio Specialty Hospital LLC (2614); New LifeCare Hospitals of North Carolina LLC (7257); New LifeCare
Hospitals of Pittsburgh LLC (8759); New NextCare Specialty Hospital of Denver LLC (6416); Hospital Acquisition
MI LLC (4982); LifeCare Pharmacy Services LLC (3733); New LifeCare REIT 2 LLC (1315); New LifeCare
Hospitals at Tenaya LLC (6891); and New LifeCare Hospitals of Sarasota LLC (8094). The Debtors’ address is
5340 Legacy Drive, Suite 150, Plano, Texas 75024.

* Capitalized terms used herein and not otherwise defined shall have the meaning ascribed to them in the
Motion or the Bidding Procedures, as applicable.

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protections, schedules, and agreements described in the Motion and attached thereto, including
the Debtors’ selection of one or more stalking horse bidders (each a “Stalking Horse Bidder’), if
any, and the provision of Bid Protections (as defined below) to such Stalking Horse Bidder, if
necessary; (iv) scheduling (a) a date for an auction if the Debtors receive one or more timely and
acceptable Qualified Bids (the “Auction”) and (b) a final hearing (the “Sale Hearing’) to
approve one or more Sales of the Assets; and (v) granting related relief, all as more fully
described in the motion; and it appearing that the relief requested is in the best interests of the
Debtors’ estates, their creditors, and other parties-in-interest; and it appearing that this Court has
jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing that the
motion is a core proceeding pursuant to 28 U.S.C. § 157; and adequate notice of the motion and
opportunity for objection having been given, with no objections having been filed, or all
objections having been resolved or overruled, as the case may be; and it appearing that no other
notice need be given; and after due deliberation and sufficient cause therefor,

IT IS HEREBY FOUND AND DETERMINED THAT:

1. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and
1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). The predicates for the relief
granted herein are Bankruptcy Code sections 105, 363, and 365 and Bankruptcy Rules 2002,
6004, and 6006. Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

Il. The legal and factual bases set forth in the Motion establish just cause for the
relief granted herein. Entry of this Bidding Procedures Order is in the best interests of the
Debtors and their respective estates, creditors, and all other parties-in-interest.

Il. The notice of the Motion, the Bidding Procedures Hearing, and the proposed entry
of this Bidding Procedures Order was adequate and sufficient under the circumstances of these

chapter 11 cases, and such notice complied with all applicable requirements of the Bankruptcy

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Code, the Bankruptcy Rules, and the Local Rules. Accordingly, no further notice of the Motion,
the Bidding Procedures Hearing, or this Bidding Procedures Order is necessary or required.

IV. The Debtors have demonstrated a compelling and sound business justification for
the Court to grant the relief requested in the Motion, including, without limitation, to (i) approve
the Bidding Procedures, including the procedures for selecting one or more Stalking Horse
Bidders; (ii) establish the Assumption and Assignment Procedures; (iii) approve the form and
manner of notice of all procedures, protections, schedules, and agreements described in the
Motion and attached thereto; (iv) schedule a date for the (a) Auction and (b) Sale Hearing; and
(v) grant related relief as set forth herein. Such compelling and sound business justification,
which was set forth in the Motion and on the record at the Bidding Procedures Hearing, are
incorporated herein by reference and, among other things, form the basis for the findings of fact
and conclusions of law set forth herein.

V. All objections to the relief requested in the Motion that have not been withdrawn,
waived, or settled as announced to the Court at the Bidding Procedures Hearing or by stipulation
filed with the Court are overruled except as otherwise set forth herein.

VI. The Bidding Procedures, substantially in the form attached as Exhibit B to the
Motion and incorporated herein by reference as if fully set forth in this Bidding Procedures
Order, are fair, reasonable and appropriate and represent the best method for maximizing the
value of the Debtors’ estates.

VII. The Sale Notice, substantially in the form attached to the Motion as Exhibit C,
respectively, and incorporated herein by reference as if fully set forth in this Bidding Procedures
Order, are appropriate and reasonably calculated to provide all interested parties with timely and

proper notice of the sale of Assets, including the sale of Assets free and clear of all liens, claims,

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and encumbrances, the Sale Transaction(s), the Bidding Procedures, the Auction and the Sale
Hearing, and no other or further notice is required.

Vill. The Post-Auction Notice, substantially in the form attached to the Motion as
Exhibit D and incorporated herein by reference as if fully set forth in this Bidding Procedures
Order, is appropriate and reasonably calculated to provide all interested parties with timely and
proper notice of the Successful Bidder(s), and no other or further notice is required.

IX. |The Assumption and Assignment Notice, substantially in the form attached to the
Motion as Exhibit E and incorporated herein by reference as if fully set forth in this Bidding
Procedures Order, is appropriate and reasonably calculated to provide all interested parties with
timely and proper notice of the potential assumption and assignment of the Designated Contracts
in connection with the sale of the Assets and the related Cure Costs, and no other or further
notice is required.

X. The findings of fact and conclusions of law herein constitute the Court’s findings
of fact and conclusions of law for the purposes of Bankruptcy Rule 7052, made applicable
pursuant to Bankruptcy Rule 9014. To the extent any findings of facts are conclusions of law,
they are adopted as such. To the extent any conclusions of law are findings of fact, they are
adopted as such.

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

1. The Motion is granted as set forth herein.’

 

* Notwithstanding anything to the contrary herein, the consummation of any Sale Transaction(s) is subject
to entry of the Sale Order(s).

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A. The Timeline for the Sale

2. The Debtors are authorized to proceed with the Sale Transaction(s) in accordance

with the Bidding Procedures and are authorized to take any and all actions reasonably necessary

or appropriate to implement the Bidding Procedures in accordance with the following timeline:

    

July 17, 2019 Assumption and Assignment Service Date
Deadline to File Proposed Sale Order and
Purchase Agreement

August 1, 2019 at 5:00 p.m. (prevailing Eastern Time) Bid Deadline

Sale Objection Deadline and Assumption
and Assignment Objection Deadline
August 6, 2019 at 10:00 a.m. (prevailing Central Time) Auction

August 8, 2019 at 5:00 p.m. (prevailing Eastern Time) Auction Objection Deadline

August 12, 2019 at 12:00 p.m. (prevailing Eastern Time) | Reply Deadline

August 13, 2019 at 10:00 a.m. (prevailing Eastern Time) | Sale Hearing

 

July 22, 2019 at 5:00 p.m. (prevailing Eastern Time)

 

 

August 1, 2019 at 5:00 p.m. (prevailing Eastern Time)

 

 

 

 

 

 

 

 

3. The Debtors reserve the right, and are authorized to, modify the above timeline
and the Bidding Procedures (the “Modifications”) in accordance with the provisions of the
Bidding Procedures.

B. The Bidding Procedures

4. The Bidding Procedures are approved in their entirety. The Debtors are
authorized to take any and all actions reasonably necessary or appropriate to implement the
Bidding Procedures in accordance therewith. The failure to specifically include or reference a
particular provision of the Bidding Procedures in this Order shall not diminish or impair the
effectiveness of such provision.

5. The Debtors are authorized, in accordance with the Bidding Procedures, to require
Diligence Parties to submit written indications of interest specifying, among other things, the
Assets proposed to be acquired, the amount and type consideration to be offered, and any other

material terms to be included in a bid by such party.

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6. The process and requirements associated with submitting a Qualified Bid are
approved as fair, reasonable, appropriate and designed to maximize recoveries for the benefit of
the Debtors’ estates, creditors, and other parties in interest. As further described in the Bidding
Procedures, the Bid Deadline shall be August 1, 2019 at 5:00 p.m. (prevailing Eastern Time).
Any disputes or objections to the selection of Qualified Bid(s), Successful Bid(s), or Backup
Bid(s) (all as defined in the Bidding Procedures) shall be resolved by this Court at the Sale
Hearing as set forth herein.

7. The Debtors are authorized to conduct the Auction in accordance with the Bidding
Procedures. The Auction shall take place on August 6, 2019 at 10:00 a.m. (prevailing Central
Time) at the offices of counsel for the Debtors, Akin Gump Strauss Hauer & Feld LLP, 2300 N.
Field Street, Suite 1800, Dallas, TX 75201 or at such other place and time as the Debtors shall
notify all Qualified Bidders, the Consultation Parties and all other parties entitled to attend the
Auction.

Cc. Stalking Horse Bidder, Related Bidding Protections and Purchase Agreement

8. In accordance with the Bidding Procedures, the Debtors may enter into a Stalking
Horse Agreement, subject to higher or otherwise better offers at the Auction, with any Stalking
Horse Bidder that submits a Qualified Bid acceptable to the Debtors to establish a minimum
Qualified Bid at the Auction.

9. Absent further order of the Court, the Stalking Horse Agreement shall limit the
break-up fees, if any, to an amount no greater than 3% of the Qualified Bid and expense
reimbursement, if any, in an amount not to exceed $250,000 (together with the Minimum
Overbid Increment, the “Bid Protections’). In the event that the Debtors determine that the Bid

Protections must exceed the amounts set forth herein, the Court shall hold a hearing on the

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approval of any such greater Bid Protections on an expedited basis, upon the request of the
Debtors.

10. In the event that the Debtors select one or more parties to serve as a Stalking
Horse Bidder, upon such selection, the Debtors shall provide, to all parties on the Rule 2002 List,
all parties expressing an interest in the Assets and all parties holding liens on such Assets, five
(5) business days’ notice of and an opportunity to object to the designation of such Stalking
Horse Bidder and disclosure of the Bid Protections set forth in the Stalking Horse Agreement,
and absent objection, the Debtors may submit an order to the Court under certification of counsel
approving the selection of such Stalking Horse Bidder. To the extent necessary, the Debtors’
right to seek this Court’s approval of one or more Stalking Horse Bidders, with notice and a
hearing, is hereby preserved.

D. Notice Procedures

12. The form of Sale Notice substantially in the form attached to the Motion as
Exhibit C is approved.

13. Within seven (7) days after the entry of this Order or as soon as reasonably
practicable thereafter, the Debtors shall serve the Sale Notice, this Order, including the Bidding
Procedures by first-class mail, postage prepaid, upon (i) all entities reasonably known to have
expressed an interest in a transaction with respect to all or part of the Assets within the past two
(2) years; (ii) all entities known to have asserted any lien, claim, interest, or encumbrance in or
upon any of the Assets; (iii) counsel for the Committee; (iv) counsel to the DIP Lender;
(v) counsel to the Prepetition Priming Term Loan Lenders; (vi) counsel to the Prepetition
Priming Term Facility Agent; (vii) counsel to the Prepetition Second Term Facility Agent; and
(viii) the U.S. Trustee; provided, however, that to the extent email addresses are available for any

of the foregoing parties, such parties may be served by email.

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14. —_ In addition, within five (5) days after the entry of the Bidding Procedures Order or
as soon as reasonably practicable thereafter, the Debtors shall serve the Sale Notice by first-class
mail, postage prepaid or, for those parties who have consented to receive notice by the ECF
system, by ECF, upon (i) all federal, state, and local regulatory or taxing authorities or recording
offices which have a reasonably known interest in the relief granted herein; (ii) the United States
Attorey’s offices for the District of Delaware and the Northern District of Texas; (iii) the
Internal Revenue Service; (iv) all parties entitled to notice pursuant to Local Rule 2002-1(b);
(v) all known creditors of the Debtors, including their contract counterparties; (vi) the patient
care ombudsman; and (vii) all registered holders of equity securities in the Debtors.

15. Service of the Sale Notice as described above shall be sufficient and proper notice
of the Sale Transaction with respect to known interested parties.

16. The Debtors are directed to publish the Sale Notice, as modified for publication,
in the New York Times and the Dailas Morning News on one occasion on the Mailing Date or as
soon as reasonably practicable thereafter. In addition, the Debtors are authorized, but not
directed, to (i) publish the Sale Notice in additional publications as the Debtors deem appropriate
and (ii) cause the Sale Notice to be posted on their case information website at
https://cases.primeclerk.com/HospitalAcquisition.

17. Service of the Sale Notice as described above shall be sufficient and proper notice
of the Sale Transaction with respect to all unknown parties.

18. The form of the Post-Auction Notice, substantially in the form attached to the
Motion as Exhibit D, is approved. As soon as reasonably practicable after the conclusion of the
Auction, the Debtors shall file the Post-Auction Notice identifying any Successful Bidder(s) on

the docket and serve such notice on any non-Debtor party to an executory contract or unexpired

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lease that is proposed to be assumed and assigned to the Successful Bidder(s) by email, overnight
mail or facsimile.

E. Assumption and Assignment Procedures

19. The Assumption and Assignment Procedures, as detailed in the Motion and
incorporated herein by reference as if fully set forth in this Bidding Procedures Order, are
approved.

20. The Notice of Assumption and Assignment, substantially in the form attached to
the Motion as Exhibit E, is approved.

21. On or before July 17, 2019 (any such date, the “Assumption and Assignment
Service Date’), the Debtors shall file with the Court, and post on the Case Website at
https://cases.primeclerk.com/HospitalAcquisition, the Notice of Assumption and Assignment and
Designated Contracts List. If no Cure Cost is listed on the Designated Contracts List, the
Debtors believe that there is no Cure Cost, as of the date of such notice. On the Assumption and
Assignment Service Date, the Debtors shall serve, via first-class mail, a customized version of
the Notice of Assumption and Assignment that contains the DCL Instructions and Necessary
Notice Information, but omits the Designated Contracts List, on all counterparties to the
Designated Contracts. In addition, the Debtors shall serve, via first-class mail, a modified
version of the Notice of Assumption and Assignment that contains the DCL Instructions and
Necessary Notice Information, but omits the Designated Contracts List on all parties on the Rule
2002 Notice List. Service of such Notice of Assumption and Assignment as set forth herein shall
be deemed proper, due, timely, good and sufficient notice of, among other things, the proposed
assumption and assignment of the Designated Contracts and rights thereunder, the Cure Costs,

and the procedures for objecting thereto, and no other or further notice is necessary.

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22. Any objection by a counterparty to a Designated Contract (a “Designated
Contract Objection’) must (i) be to the proposed assumption and assignment of the applicable
Designated Contract or Cure Costs, if any; (ii) state, with specificity, the legal and factual basis
thereof as well as what Cure Costs such objecting party believes are required, if any; and
(iii) include appropriate documentation in support thereof. All Designated Contract Objections
must be filed and served on (i) counsel to the Debtors, (a) Akin Gump Strauss Hauer & Feld
LLP, 2001 K Street, N.W., Washington, DC 20006, Attn: Scott L. Alberino, Esq.
(salberino@akingump.com) and Kevin M. Eide, Esq. (keide@akingump.com) and 2300 N. Field
Street, Suite 1800, Dallas, TX 75201, Attn: Sarah Link Schultz, Esq. (sschultz@akingump.com)
and (b) Young Conaway Stargatt & Taylor, LLP, Rodney Square, 1000 North King Street,
Wilmington, Delaware 19801, Attn: M. Blake Cleary, Esq. (mbcleary@ycst.com); (11) the Office
of the United States Trustee for the District of Delaware, 844 King Street, Suite 2207,
Wilmington, Delaware, 19801, Attn: Benjamin A. Hackman, Esq.
(Benjamin.A.Hackman@usdoj.gov); (iii) counsel to the DIP Lender, King & Spalding LLP, 1185
Avenue of the Americas, New York, New York 10036, Attn: Arthur Steinberg, Esq.
(asteinberg@kslaw.com), Terry D. Novetsky, Esq. (tnovetsky@kslaw) and Scott Davidson, Esq.
(sdavidson@kslaw.com); (iv) counsel to the Prepetition Priming Term Loan Lenders, Ropes &
Gray LLP, 1211 Avenue of the Americas, New York, NY 10036, Attn: Matthew M. Roose, Esq.
(matthew.roose@ropesgray.com); (v) counsel to the Prepetition Priming Term Facility Agent,
Thompson Hine LLP, 335 Madison Avenue, 12th Floor, New York, NY 10017, Attn: John H.
Bae, Esq. Gohn.bae@thompsonhine.com), (vi) counsel to the Prepetition Second Term Facility
Agent, Shearman & Sterling LLP, 599 Lexington Avenue, New York, NY 10022, Attn: Ned S.

Schodek, Esq. (ned.schodek@shearman.com) and Jordan Wishnew, Esq.

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(jordan.wishnew@shearman.com); (vii) counsel to the Committee, (1) Greenberg Traurig LLP,
77 West Wacker Drive, Suite 3100, Chicago, IL 60601, Attn: Nancy A. Peterman, Esq.
(petermann@gtlaw.com) and David D. Cleary, Esq. (clearyd@gtlaw.com) and (ii) Bayard, P.A.,
600 North King Street, Suite 400, Wilmington, DE 19801, Attn: Justin R. Alberto, Esq.
(jalberto@bayardlaw.com) and Erin R. Fay, Esq. (efay@bayardlaw.com); and (viii) all parties
that have requested notice in these chapter 11 cases (collectively (i)-(vili), the “Objection
Recipients”), no later than August 1, 2019 at 5:00 p.m. (prevailing Eastern Time) (the
“Assumption and Assignment Objection Deadline’).

23. Ifa Designated Contract Objection is not consensually resolved before the Sale
Hearing, the amount to be paid or reserved with respect to such objection shall be determined at
the Sale Hearing, such later hearing date that the Debtors determine in their discretion, or such
other date determined by this Court.

24. Any time after the Assumption and Assignment Service Date and before the
closing of a Sale Transaction, the Debtors reserve the right, and are authorized but not directed,
to (i) supplement the Designated Contracts List with previously omitted Designated Contracts in
accordance with the definitive agreement for a Sale Transaction, (ii) remove a Designated
Contract from the list of contracts that a Successful Bidder proposes be assumed and assigned to
it in connection with a Sale Transaction, or (iii) modify the previously stated Cure Cost
associated with any Designated Contract.

25. In the event the Debtors exercise any of the rights listed above, the Debtors shall
promptly serve the Supplemental Notice of Assumption and Assignment by electronic
transmission, hand delivery, or overnight mail on the counterparty (and its attorney, if known) to

each Designated Contract listed on the Supplemental Notice of Assumption and Assignment at

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the last known address available to the Debtors. Each Supplemental Notice of Assumption and
Assignment shall set forth (i) the name and address of the counterparty to the Designated
Contract listed thereon; (ii) the proposed effective date of the assignment (subject to the right of
the applicable Successful Bidder, if any, to withdraw such request for assumption and assignment
of that Designated Contract prior to the closing of the applicable Sale Transaction); (iii)
sufficient information to identify the Designated Contract; (iv) the Cure Costs, if any; and (v)
proposed adequate assurance, if known on the Assumption and Assignment Service Date. The
Debtors are authorized, but not directed, to modify the Supplemental Notice of Assumption and
Assignment as necessary and appropriate to provide customized individual notice to each
Designated Contract counterparty. In addition, the Debtors are authorized, but not directed, to
supplement the Designated Contract List on the Case Website with any additional Designated
Contracts as the Debtors deem appropriate in their discretion. Service of such Supplemental
Notice of Assumption and Assignment as set forth herein shall be deemed proper, due, timely,
good and sufficient notice of, among other things, the proposed assumption and assignment of
the Designated Contracts and rights thereunder, the Cure Costs, and the procedures for objecting
thereto, and no other or further notice is necessary.

26. Any objection by a counterparty to a Designated Contract listed on a
Supplemental Notice of Assumption and Assignment (a “Supplemental Designated Contract
Objection’) must (i) be to the proposed assumption and assignment of the applicable Designated
Contract or the proposed Cure Costs, if any; (ii) state, with specificity, the legal and factual basis
thereof as well as what Cure Costs such objecting party believes are required, if any; (iii) include

appropriate documentation in support of the objection; and (iv) be filed and served on the

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Objection Recipients no later than fourteen (14) days from the date of service of such
Supplemental Notice of Assumption and Assignment.

27. If a Supplemental Designated Contract Objection is not consensually resolved by
the proposed effective date of assignment of the Designated Contract that is the subject of a
Supplemental Designated Contract Objection, the Debtors shall seek an expedited hearing before
the Court (a “Supplemental Designated Contract Hearing’’) to determine the Cure Costs, if any,
and approve the assumption of the relevant Designated Contracts. If there is no such objection,
then the Debtors shall obtain an order of this Court, including by filing a certification of no
objection, (a “Supplemental Designated Contract Order’’) fixing the Cure Costs and approving
the assumption of any Designated Contract listed on a Supplemental Notice of Assumption and
Assignment.

28. Absent the filing of a Designated Contract Objection or Supplemental Designated
Contract Objection and a subsequent order of the Court establishing an alternative Cure Cost, the
Cure Costs, if any, set forth in the Notice of Assumption and Assignment (or Supplemental
Notice of Assumption and Assignment) shall be controlling, notwithstanding anything to the
contrary in any Designated Contract or any other document, and the counterparty to the
Designated Contract will be deemed to have consented to the assumption, assignment, and sale
of the Designated Contract and the Cure Costs, if any, and will be forever barred from asserting
any other pre-closing claims related to such Designated Contract against the Debtors or the
applicable Successful Bidder, or the property of any of them, except with respect to adequate
assurance of future performance by such Successful Bidder. For the avoidance of doubt, any
objections to a Successful Bidder’s proposed form of adequate assurance of future performance

must be raised at the Sale Hearing or Supplemental Designated Contract Hearing, as applicable,

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and will be resolved at the hearing at which it is raised or, in the Debtors’ discretion, adjourned to
a later hearing.

29. The inclusion of a Designated Contract on the Notice of Assumption and
Assignment (or Supplemental Notice of Assumption and Assignment) will not (a) obligate the
Debtors to assume any Designated Contract listed thereon nor the Successful Bidder(s) to take
assignment of such Designated Contract or (b) constitute any admission or agreement of the
Debtors that such Designated Contract is an “executory” contract. Only those Designated
Contracts that are included on a schedule of assumed and assigned contracts attached to the final
Purchase Agreement with the Successful Bidder(s) (each, an “Acquired Contract’) will be
assumed and assigned to the Successful Bidder(s).

F. The Sale Hearing

30. A Sale Hearing to (i) approve a sale of a portion or substantially all of the Assets
to the Successful Bidder(s) and (ii) authorize the assumption and assignment of certain executory
contracts and unexpired leases shall be held on August 13, 2019 at 10:00 a.m. (prevailing Eastern
Time), and may be adjourned or rescheduled without notice, subject to paragraph 3 of this Order.
At the Sale Hearing, the Debtors will seek Bankruptcy Court approval of the Successful Bid(s)
and the Backup Bid(s). Unless the Bankruptcy Court orders otherwise, the Sale Hearing shall be
an evidentiary hearing on matters relating to the Sale Transaction(s) and there will be no further
bidding at the Sale Hearing. In the event that the Successful Bidder(s) cannot or refuses to
consummate the Sale(s) because of the breach or failure on the part of such Successful Bidder,
the Debtors may, in accordance with the Bidding Procedures, designate the Backup Bid to be the
new Successful Bid and the Backup Bidder to be the new Successful Bidder, and the Debtors
shall be authorized, but not required, to consummate the applicable transaction with the Backup

Bidder without further order of the Bankruptcy Court.

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31. Any and all objections, if any, to any Sale Transaction must be filed no later than
August 1, 2019 at 5:00 p.m. (prevailing Eastern Time) (the “Sale Objection Deadline’). In
addition, any and all objections relating to the Auction process (an “Auction Objection”) must be
filed by August 8, 2019 at 5:00 p.m. (prevailing Eastern Time) (the “Auction Objection
Deadline”). Any and all such objections must be served on the Objection Recipients and counsel
to any Successful Bidder(s), if known on the Sale Objection Deadline or the Auction Objection
Deadline, as applicable. For the avoidance of doubt, any objections to a Successful Bidder’s
proposed form of adequate assurance of future performance will be resolved at the Sale Hearing
or Supplemental Designated Contract Hearing, as applicable. All replies to such objections must
be filed by August 12, 2019 at 12:00 p.m. (prevailing Eastern Time) (the “Reply Deadline”).

G. Other Provisions

32. Notwithstanding anything herein or in the Bidding Procedures to the contrary, the
Debtors shall not be permitted to modify the consultation rights of the Consultation Parties or the
Bid Consultation Parties in the Bidding Procedures absent further order of this Court or the
consent of any affected Consultation or Bid Consultation Parties.

33. For the avoidance of doubt, nothing contained herein or in the Bidding Procedures
shall be construed to provide that this Court will approve any use, sale or lease (free and clear or
otherwise) of any assets of any non-Debtor entity. In addition, any Bid Protections approved in
accordance with the terms of this Order shall apply solely to the assets of the Debtors and their
estates and shall not apply to any assets of any non-Debtor entity (provided, that nothing
contained herein or in the Bidding Procedures shall be deemed to prohibit the non-Debtor entities
from selling their assets or separately agreeing to provide any bid protections to any Stalking

Horse Bidder in connection with any Sale Transaction). If any assets of a non-Debtor entity are

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sold in conjunction with the Debtors’ assets, this Court may approve any corporate action taken
by the Debtors in connection with the sale of such non-Debtor entity’s assets.

34. Any substantial contribution claims by any Bidder are deemed waived.

35. The Debtors are authorized and empowered to take such action as may be
necessary to implement and effect the terms and requirements established under this Bidding
Procedures Order.

36. This Bidding Procedures Order shall be binding on and inure to the benefit of the
Debtors, including any chapter 7 or chapter 11 trustee or other fiduciary appointed for the estates
of the Debtors.

37. This Bidding Procedures Order shall constitute the findings of fact and
conclusions of law and shall take immediate effect upon execution hereof.

38. To the extent this Bidding Procedures Order is inconsistent with any prior order or
pleading with respect to the Motion in these cases, the terms of this Bidding Procedures Order
shall govern.

39. To the extent any of the deadlines set forth in this Bidding Procedures Order do
not comply with the Local Rules, such Local Rules are waived and the terms of this Bidding
Procedures Order shall govern.

40. Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 6006(d),
7062, 9014, or otherwise, this Court, for good cause shown, orders that the terms and conditions
of this Bidding Procedures Order shall be immediately effective and enforceable upon its entry.

41. This Court shall retain jurisdiction with respect to all matters arising from or
related to the implementation or interpretation of this Bidding Procedures Order, including, but

not limited to, any matter, claim, or dispute arising from or relating to the Bidding Procedures,

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any Stalking Horse Agreement, and the implementation of this Bidding Procedures Order.

Dated: Wilmington, Delaware

2.2019

   
 

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Uniged States Bankruptcy Judge

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